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                  IN THE DISTRICT COURT OF THE VIRGIN ISLANDS

                               DIVISION OF ST. CROIX

 JOSEPHAT HENRY, ET AL.,

              PLAINTIFFS,

       V.
                                           CIV. NO. 1:99-CV-0036-HB
 ST. CROIX ALUMINA, LLC, ET AL.,

              DEFENDANTS.


                                   FINAL JUDGMENT

      This matter is before the Court on the parties’ joint stipulation for entry of a

final judgment in this matter, dismissing the case, with prejudice. Considering the

foregoing, it is ORDERED that final judgment is hereby entered, dismissing this

matter, with prejudice.



                                              /s/ Harvey Bartle III
                                              Harvey Bartle III, J.
                                              Sitting by designation

                                              March 12, 2012
